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                           COMMONWEALTH OF MASSACHUSETTS
MIDDLESEX, SS.                               SUPERIOR COURT DEPARTMENT


 JOHN DOE, a minor, and CATHERINE DOE, his
 parent and next of friend,

         Plaintiffs,                                                 C.A.No.------
 v.

 CHRISTOPHER MACPHERSON, individually,

         Defendants.




                                COMPLAINT AND JURY DEMAND

                                               I. Introduction

        1.       John Doe 1 is a fifteen year-old male former student at Hopkinton High School

who was harassed and bullied at school by teammates of the varsity ice hockey team during the

2018-2019 season. His father reported the harassment when it first started to the coach,

Defendant Christopher MacPherson, and even the specific form of harassment that was taking

place.MacPherson promised to watch out for any harassment, but then took no action and did

not monitor the locker room or buses where the harassment occurred. Doe was harassed by

teammates due to his failure to conform to male gender stereotypes and perceived sexual

orientation. Defendants' deliberate indifference to the harassment violated his right to equal

protection under the Fourteenth Amendment and to equal access to education under Title IX of

the Education Amendments of 1972, causing damages.




1 Plaintiff is using pseudonyms for himself and his next of friend to protect his identity as a minor. His
actual name is known to Defendants through the events at issue.
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WHEREFORE, Plaintiff prays this Court:

         1. ORDER the Defendants to pay compensatory damages to Plaintiff' for emotional
            distress and pain and suffering and any other damages as allowed by law;
         2. ORDER the Defendants to pay punitive damages and reasonable attorneys' fees;
         3. Any further relief as is just and necessary.

                                          Respectfully submitted,

                                          PLAINTIFF JOHN DOE, a minor, by bis parent and
                                          next friend CATIIERINE DOE,
                                                  \',
                                          By theit'.' o

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November 13, 2019




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